                                                                                                                                                                                                       Page:       1
                                                          Case 20-16595-AJC                  Doc 148          Filed 07/30/21             Page 1 of 3
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:               20-16595                        AJC            Judge:        A. Jay Cristol                               Trustee Name:                      DREW M. DILLWORTH, TRUSTEE
Case Name:             Astor Eb-5, Llc                                                                                           Date Filed (f) or Converted (c):   03/26/2021 (c)
                                                                                                                                 341(a) Meeting Date:               05/04/2021
For Period Ending:     06/30/2021                                                                                                Claims Bar Date:                   06/09/2021


                                    1                                               2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

  1. Bank Of America Checking Account #3992                                                   0.00                        0.00                                                       0.00                        FA
  2. 956 Washington Ave., Miami Beach, FL                                           10,700,000.00                         0.00                                                       0.00                        FA
  3. turnover from chapter 11 trustee (u)                                                     0.00                   50,000.00                                                50,000.00                          FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                               $10,700,000.00                    $50,000.00                                               $50,000.00                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  3/26/21-Case was converted to chapter 7




  Initial Projected Date of Final Report (TFR): 12/30/2022            Current Projected Date of Final Report (TFR): 12/30/2022

  Trustee Signature:       /s/ DREW M. DILLWORTH, TRUSTEE                Date: 07/30/2021
                           DREW M. DILLWORTH, TRUSTEE
                           150 W. FLAGLER STREET
                           22ND FLOOR
                           MIAMI, FL 33130
                           (305) 789-3598
                           ddillworth@stearnsweaver.com
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                                                           Case 20-16595-AJC              Doc FORM
                                                                                              148 2 Filed 07/30/21                   Page 2 of 3
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 20-16595                                                                                              Trustee Name: DREW M. DILLWORTH, TRUSTEE
      Case Name: Astor Eb-5, Llc                                                                                            Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX1076
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX7208                                                                              Blanket Bond (per case limit): $73,967,000.00
For Period Ending: 06/30/2021                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   06/30/21             3          Stearns Weaver Miller et al               Tunover of funds from Ch. 11                          1290-000               $50,000.00                                $50,000.00
                                   150 W. Flagler St.                        Trustee
                                   Suite 2200
                                   Miami, FL 33130


                                                                                                             COLUMN TOTALS                                $50,000.00                 $0.00
                                                                                                                   Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                             Subtotal                                     $50,000.00                 $0.00
                                                                                                                   Less: Payments to Debtors                    $0.00                $0.00
                                                                                                             Net                                          $50,000.00                 $0.00




                                                                                    Page Subtotals:                                                       $50,000.00                 $0.00
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                                                                                            TOTAL OF ALL ACCOUNTS
                                                                                                                                             NET             ACCOUNT
                                                                                                           NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                             XXXXXX1076 - Checking                                             $50,000.00                   $0.00            $50,000.00
                                                                                                               $50,000.00                   $0.00            $50,000.00

                                                                                                         (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                 transfers)            to debtors)
                                             Total Allocation Receipts:                         $0.00
                                             Total Net Deposits:                            $50,000.00
                                             Total Gross Receipts:                          $50,000.00



Trustee Signature:   /s/ DREW M. DILLWORTH, TRUSTEE     Date: 07/30/2021

                     DREW M. DILLWORTH, TRUSTEE
                     150 W. FLAGLER STREET
                     22ND FLOOR
                     MIAMI, FL 33130
                     (305) 789-3598
                     ddillworth@stearnsweaver.com




                                                                     Page Subtotals:                                            $0.00                $0.00
